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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

GEORGIA COALITION FOR THE
PEOPLES’ AGENDA, INC., as an
organization, et al.,
                                              Civil Action
              Plaintiffs,                     Case No. 1:18-cv-04727-ELR

v.

BRAD RAFFENSPERGER, in his
official capacity as Secretary of State for
the State of Georgia,

              Defendant.



                 SECOND NOTICE OF 30(b)(6) DEPOSITION

  To:    Bryan Tyson
         Loree Anne Paradise
         Diane Festin LaRoss
         Bryan Jacoutot
         Taylor English Duma LLP
         1600 Parkwood Circle, Suite 200
         Atlanta, GA 30339

        PLEASE TAKE NOTICE that Plaintiffs Georgia Coalition for the Peoples’

Agenda, Inc., Asian Americans Advancing Justice-Atlanta, Inc., Georgia State

Conference of the NAACP, New Georgia Project, Inc., Georgia Association of

Latino Elected Officials, Inc., ProGeorgia State Table, Inc., The Joseph and Evelyn

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Lowery Institute for Justice and Human Rights, Inc., and Common Cause will take

the deposition of Defendant Brad Raffensperger, in his official capacity as

Secretary of State for the State of Georgia, or his designee pursuant to Federal Rule

of Civil Procedure 30(b)(6), on Friday, April 30, 2021, beginning at 9 a.m. and

continuing thereafter until completed via videoconferencing through Gregory

Edwards Worldwide Court reporting. Details regarding the videoconferencing will

be emailed to those participating once all arrangements are finalized.

      The deposition shall be taken before an officer authorized by law to

administer oaths and take testimony and will be recorded by video and/or

stenographic means. The deposition will be taken for the purposes of cross-

examination, discovery, and for all other purposes permitted under the Federal

Rules of Civil Procedure or any other applicable law.

      Please note, under Rule 30(b)(6) of the Federal Rules of Civil Procedure, the

Organization must designate one or more officers, directors, managing agents, or

other appropriate persons who consent to testify on behalf of the organization. The

Person(s) must be ready to testify about the information known or reasonably

available to the Organization regarding the topics listed in Exhibit A, attached

hereto.

      Respectfully submitted this 22nd day of April, 2021.

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                                          *Admitted pro hac vice

                                          Counsel for Plaintiffs




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                  EXHIBIT A




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                      DEFINITIONS AND INSTRUCTIONS

1.    In the Deposition Topics below, references to the singular shall include the

plural and references to the plural shall include the singular; the conjunctive shall

include the disjunctive and the disjunctive shall include the conjunctive; and the past

tense shall include the present tense and vice versa.

2.    Unless specified otherwise, each of the Deposition Topics below shall be

construed to apply to the time period from January 1, 2017, to the present.

3.    The terms defined below and the individual Deposition Topics should be

construed broadly to the fullest extent of their meaning.

4.    Each of the Deposition Topics should be construed independently and no

other Topic shall be referred to or relied on for the purpose of limiting the scope of

any Topic.

5.    The term “communication” means the transmittal of information (in the form

of facts, ideas, inquiries or otherwise).

6.    The term “concerning” means relating to, referring to, describing, evidencing

or constituting.

7.    “DDS” means the Georgia Department of Driver Services.

8.     The term “person” means any natural person or any legal entity, including,

without limitation, any business or governmental entity or association.


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9.    The term “Georgia Secretary of State” includes the Georgia Secretary of State

and any of the employees, staff, agents, contractors, assigns, designees,

representatives, or other individuals who have worked or are working on behalf of

the Georgia Secretary of State.

              DEPOSITION TOPICS FOR 30(B)(6) DEPOSITION

      Pursuant to Fed. R. Civ. P. 30(b)(6), Defendant shall produce persons to give

sworn testimony on all information known or reasonably available to persons in

Defendant’s office concerning the following matters:

1.    The Georgia Secretary of State’s processes, procedures, communications, and

role with respect to verifying the citizenship of voter registration applicants,

including, but not limited to, the matching of information provided by voter

registration applicants with the applicants’ information on file with DDS or other

agencies.

2.    Proposed legislative changes to Georgia’s citizenship verification procedures

considered or reviewed by the Georgia Secretary of State since January 1, 2017.

3.    The role of Georgia county registrars, county election officials or poll

workers, or county boards of elections, including their respective staffs, agents or

representatives, with respect to verifying the citizenship of voter registration

applicants.

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4.    The role of DDS or other agencies with respect to verifying the citizenship of

voter registration applicants in Georgia.

5.    The role of the United States Customs and Immigration Services (“USCIS”)

with respect to verifying the citizenship of voter registration applicants or providing

citizenship information to the Secretary of State.

6.    The Georgia Secretary of State’s authority to delay and deny voter registration

to Georgians who are United States citizens for alleged non-United States citizenship

based upon DDS limited term driver’s license data that is not updated to reflect the

current citizenship status of those voter registration applicants.

7.    The training and guidance provided by the Georgia Secretary of State to other

governmental agencies, county registrars, county election officials, poll managers

and poll workers, related to verifying the citizenship of voter registration applicants

and the appearance of voters who are in “pending” status due to a citizenship flag at

a polling place.

8.    The information technology, algorithms, matching criteria, and databases

used to implement the computerized database matching process used to verify the

citizenship of voter registration applicants.

9.    The vendors that supply, service, configure and update the technology

employed to verify the citizenship of Georgia’s voter registration applicants.

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10.   The procedures established by the Georgia Secretary of State for processing

voter registration applications that include a photocopy of the applicant’s

naturalization certificate.

11.   Evidence concerning any person who is not a citizen of the United States who

has registered to vote, attempted to register to vote, or voted in Georgia, including,

without limitation, any such person identified by Georgia’s citizenship verification

procedures.

12.   The mechanics and the accuracy of the algorithms used to match the

citizenship information provided by voter registration applicants with the applicants’

citizenship information on file with DDS and other agencies.

13.   Any investigations, analyses, studies, or assessments of the efficacy or the

accuracy of the citizenship verification database matching protocol.

14.   Spreadsheets in the possession of the Georgia Secretary of State, including

those produced in discovery in this action, identifying voter registration applicants

whose applications were placed into pending status, cancelled or rejected as a result

of Georgia’s citizenship verification procedures, and the meaning of the codes or

abbreviations contained in the spreadsheets since January 1, 2018.

15.   The number of Georgians who were United States citizens at the time they

submitted applications to register to vote in Georgia, but whose active voter

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registration status was delayed until they produced documentary proof of

citizenship.

16.   A description of the steps taken by the Georgia Secretary of State to

implement the Order issued by the Court in this case on November 2, 2018.

17.   Communications with voters regarding the verification of voter registration

applicants’ citizenship information, including any complaints, concerns, objections,

or other feedback from voters or members of the public, and any response to said

complaints, concerns or objections by the Georgia Secretary of State or his staff.

18.   Investigations by or on behalf of the Georgia Secretary of State into any and

all complaints or feedback from voters or any other third parties regarding the

verification of voter registration applicants’ citizenship information.




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                        CERTIFICATE OF SERVICE
      I certify that on the 22nd day of April, 2021, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system, which will send

notification of such filing to all counsel of record.

                         By:   /s/ John Powers
                               John Powers*
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